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                   UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                       FORT WORTH DIVISION

    DAVID SAMBRANO ET AL.,

         Plaintiffs,

    v.                                                 No. 4:21-cv-1074-P

    UNITED AIRLINES, INC.,

         Defendant.

                                    ORDER
       Before the Court is Plaintiffs’ Motion for Limited Reconsideration
    (“Motion”), filed November 11, 2021. Mot. to Recons., ECF No. 105.
    Plaintiffs argue the Court erred by concluding that Plaintiffs failed to
    meet their burden to show irreparable harm because the Court
    overlooked one theory of alleged harm—lost bidding opportunities while
    on unpaid leave. Id. at 2. But the Court did not overlook this argument.
    Plaintiffs’ Motion thus attempts to relitigate the issues and arguments
    that previously led the Court to deny Plaintiffs’ Motion for Preliminary
    Injunction. See Order, ECF No. 104. The Court will therefore DENY
    Plaintiffs’ Motion.

        In deciding Plaintiffs’ Motion for Preliminary Injunction, the Court
    spent seven-and-a-half pages of analysis considering each specific
    irreparable-harm theory offered by Plaintiffs. See id. at 6–13. The Court
    concluded, under binding precedent, that each theory fell short. In
    reaching this conclusion, the Court considered the Parties’ extensive
    briefing and supporting evidence, as well as the arguments and
    testimony offered at the two-day Preliminary Injunction Hearing.

        Contrary to the assertions in the Motion, the Court did not “overlook”
    any of Plaintiffs’ arguments or evidence that they would suffer
    irreparable harm from losing the ability to bid on jobs while on leave.
    See Mot. to Recons. at 2–3. For instance, Plaintiffs claim the Court
    ignored the expert testimony of Fred Bates. Id. at 3. Not so. The Court
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    expressly addressed Mr. Bates’s declaration testimony. See Sambrano
    v. United Airlines, Inc., No. 4:21-CV-1074-P, 2021 WL 5176691, at *5
    (N.D. Tex. Nov. 8, 2021). The precise portion of Mr. Bates’s Declaration
    cited by the Court (¶¶ 56–60) includes his testimony on the “bidding
    opportunities” that Plaintiffs now claim the Court ignored. See id. (citing
    Bates Decl., PI Hr’g App’x at 178–80, ECF No. 75). Specifically, the
    Court’s Order stated that the “[t]estimony offered by one of Plaintiffs’
    experts, Fred Bates, shows how seniority permeates nearly every aspect
    of an airline employee’s job.” Id. The Court then detailed how seniority
    impacts “flight schedules,” “the amount and timing of vacation time-off,”
    “ability to relocate to more desirable terminals,” the ability to “choose
    more desirable jobs,” and “myriad other aspects of [] employment.” Id.
    (citing Bates Decl.). Accordingly, Plaintiffs’ claim that the Court failed
    to consider their arguments relating to “job openings, management
    positions, vacation schedules, and job locations” is unfounded. Compare
    id., with Mot. to Recons. at 2–3.

       Plaintiffs also attempt to introduce new evidence and present new
    caselaw in their Reply Brief, to which United objects. See Objection, ECF
    No. 113. Specifically, Plaintiffs proffered supplemental affidavits from
    Debra Jonas and Genise Kincannon, along with an affidavit from a
    non-party named Tracy Brown. See Reply App’x at 51–60, ECF No. 112.
    These affidavits are improper, and the Court will not consider them in
    resolving the Motion. Plaintiffs also point to a recent opinion from the
    Fifth Circuit to argue the Court should reconsider Plaintiffs’ “impossible
    choice” theory of irreparable harm. See id. at 1–13; see also Reply Br. at
    5, ECF No. 111 (citing BST Holdings, LLC v. OSHA, --- F.4th ----, 2021
    WL 5279381 (5th Cir. Nov. 12, 2021)). Plaintiffs, however, moved for
    reconsideration on the argument that the Court overlooked their “lost
    bidding opportunities” theory of harm; Plaintiffs did not move the Court
    to reconsider the “impossible choice” theory of harm in their Motion. See,
    e.g., Mot. to Recons. The Court therefore declines to consider Plaintiffs’
    newly proffered evidence or arguments about Plaintiffs’ “impossible




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    choice” theory. 1 See, e.g., RedHawk Holdings Corp. v. Schrieber Tr. of
    Schreiber Living Tr. – DTD 2/8/95, 836 F. App’x 232, 235 (5th Cir.
    2020) (“Generally, neither [the Fifth Circuit] nor the district courts of
    this circuit will review arguments raised for the first time in a reply
    brief.”).

       To clarify any perceived ambiguity stemming from the omission of
    Plaintiffs’ preferred phrasing, however, the Court reiterates the
    conclusion detailed in its previous Order: Bound by precedent, the Court
    again concludes that Plaintiffs failed to show they would suffer
    irreparable harm from lost bidding opportunities while on unpaid
    leave. 2 Accordingly, Plaintiffs’ Motion for Limited Reconsideration is
    DENIED.

       The Court recognizes that United’s policy has created much
    consternation for Plaintiffs, and the Court remains deeply disturbed by
    United’s intolerance of its employees’ legitimate medical conditions and
    religious beliefs. However, regardless of these concerns, the Court is first
    and foremost obligated to faithfully apply binding precedent that
    governs its analysis of Plaintiffs’ Motion for Preliminary Injunction. See,
    e.g., Poindexter v. R.J. Reynolds Tobacco Co., No. CIV.A.399-CV-262-X,
    2000 WL 358473, at *2 (N.D. Tex. Apr. 7, 2000) (Kendall, J.) (“Although
    this Court is not without sympathy towards the Plaintiffs’ outrage, this
    Court is bound by the Fifth Circuit[’]s legal interpretations.”), aff’d, 237
    F.3d 630 (5th Cir. 2000). If the Court has erred on the facts or in

       1Even   if it considered BST Holdings in its analysis, the Court would reach
    the same conclusion. That case involved the potential unconstitutionality of a
    rule promulgated by a federal agency mandating that private employers
    impose a vaccine mandate or adopt a testing regime for their employees. See
    BST Holdings, 2021 WL 5279381, at *1. Because no such federal regulation is
    at issue in this case, BST Holdings is inapposite.

        2Even   if the Court were to grant Plaintiffs’ Motion and enter a preliminary
    injunction, Plaintiffs would simply be placed on paid leave, rather than unpaid
    leave. Plaintiffs failed to offer evidence that they could bid on jobs while on
    paid leave that they would be unable to bid upon while on unpaid leave. Thus,
    even if the Court entered a preliminary injunction preventing United from
    putting Plaintiffs on unpaid leave, Plaintiffs would seemingly remain unable
    to bid on job opportunities while on paid leave.
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    applying the preliminary injunction standard, see In re J.P. Linahan,
    Inc., 138 F.2d 650, 654 (2d Cir. 1943) (recognizing that a district judge’s
    findings “may be erroneous, for, being human, he is not infallible”), the
    Court looks forward to such guidance from the Fifth Circuit.

       SO ORDERED on this 19th day of November, 2021.




                    Mark T. Pittman
                    UNITED STATES DISTRICT JUDGE




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